               Case 1:20-cr-00563-JPO Document 43 Filed 11/02/20 Page 1 of 2
                                                                                                            April 2, 2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                    WAIVER OF RIGHT TO BE PRESENT AT
                                  -v-                                               CRIMINAL PROCEEDING

 JAMA MOHAMOUD                            ,                                            -CR-     ( )( )
                                               Defendant.
-----------------------------------------------------------------X                        20 -CR- 563

Check Proceeding that Applies
   x
____       Arraignment

           I have been given a copy of the indictment containing the charges against me and have reviewed it with my
           attorney. I understand that I have a right to appear before a judge in a courtroom in the Southern District
           of New York to confirm that I have received and reviewed the indictment; to have the indictment read aloud
           to me if I wish; and to enter a plea of either guilty or not guilty before the judge. After consultation with
           my attorney, I wish to plead not guilty. By signing this document, I wish to advise the court of the following.
           I willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
           that:

                       1)         I have received and reviewed a copy of the indictment.
                       2)         I do not need the judge to read the indictment aloud to me.
                       3)         I plead not guilty to the charges against me in the indictment.

                        /s/ Authorized to sign by counsel, JGP
Date:                  ____________________________
                       Signature of Defendant

                         JAMA MOHAMOUD
                       ____________________________
                       Print Name
  x
___        Bail Hearing

           I am applying or in the future may apply for release from detention, or if not detained, for modification of
           the conditions of my release from custody, that is, my bail conditions. I understand that I have a right to
           appear before a judge in a courtroom in the Southern District of New York at the time that my attorney
           makes such an application. I have discussed these rights with my attorney and wish to give up these rights
           for the period of time in which access to the courthouse has been restricted on account of the COVID-19
           pandemic. I request that my attorney be permitted to make applications for my release from custody or
           for modification of the conditions of my release even though I will not be present, and to make such
           applications in writing or by telephone in my attorney’s discretion.

                        /s/ Authorized to sign by counsel, JGP
Date:                  ____________________________
                       Signature of Defendant

                         JAMA MOHAMOUD
                       ____________________________
                       Print Name
            Case 1:20-cr-00563-JPO Document 43 Filed 11/02/20 Page 2 of 2



____     Conference

         I have been charged in an indictment with violations of federal law. I understand that I have a right to be
         present at all conferences concerning this indictment that are held by a judge in the Southern District of
         New York, unless the conference involves only a question of law. I understand that at these conferences
         the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
         be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
         excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
         and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
         the court that I willingly give up my right to be present at the conferences in my case for the period of time
         in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
         my attorney be permitted to represent my interests at the proceedings even though I will not be present.



Date:             ____________________________
                  Signature of Defendant


                  ____________________________
                  Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:             ____________________________
                  Signature of Defense Counsel

                      Jeffrey Pittell
                  ____________________________
                  Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                  Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date: 11/2/2020
                                                          2
